           Case: 23-15992, 06/24/2024, ID: 12893221, DktEntry: 120, Page 1 of 2



                                  UNITED STATES OF AMERICA
                                FEDERAL TRADE COMMISSION
                                    WASHINGTON, DC 20580



      Imad D. Abyad
          Attorney
 Office of General Counsel
       202.326.3579
      iabyad@ftc.gov




                                         June 24, 2024

Molly Dwyer, Clerk of Court
U.S. Court of Appeals for the Ninth Circuit
James R. Browning Courthouse
95 Seventh Street
San Francisco, CA 04103

   RE: FTC v. Microsoft Corp., No. 23-15992

Dear Ms. Dwyer:

   Contrary to Microsoft’s June 17 letter, Starbucks Corp. v. McKinney, No. 23-367 (June 13,
2024), does not alter the preliminary injunction standard in this case.

   This Court has long recognized that the FTC Act departs from the traditional equity standard.
FTC v. Warner Commc’n, Inc., 742 F.2d 1156, 1159 (9th Cir. 1984). Warner remains binding
unless “clearly irreconcilable” with Starbucks. FTC v. Consumer Defense, LLC, 926 F.3d 1208,
1213 (9th Cir. 2019).

    Warner and Starbucks are easily reconciled. Starbucks addressed the NLRA’s preliminary
injunction standard. Slip Op. 4. The FTC Act supplies a different standard than the NLRA.
Kinney v. Int’l Union of Operating Eng’rs, 994 F.2d 1271, 1277 (7th Cir. 1993). The FTC Act
departs from the traditional preliminary injunction standard by expressly enumerating the
required elements—“weighing the equities and considering the Commission’s likelihood of
ultimate success,” 15 U.S.C. § 53(b); Warner, 742 F.2d at 1159—while omitting requirements
like irreparable harm. FTC v. H.J. Heinz Co., 246 F.3d 708, 714 (D.C. Cir. 2001). Starbucks does
not address the FTC Act.

    This Court has recognized the FTC Act’s unique equity standard. FTC v. World Wide
Factors, Ltd., 882 F.2d 344, 346 (9th Cir. 1989). Other courts uniformly agree. See, e.g., FTC v.
Penn State Hershey Med. Ctr., 838 F.3d 327, 337 (3d Cir. 2016); FTC v. Food Town Stores, Inc.,
539 F.2d 1339, 1343-44 (4th Cir. 1976); FTC v. Southwest Sunsites, Inc., 665 F.2d 711, 721 (5th
Cir. 1982); FTC v. Butterworth Health Corp., 1997 WL 420543, *1 (6th Cir. 1997); FTC v.
World Travel Vacation Brokers, Inc., 861 F.2d 1020, 1028-29 (7th Cir. 1988); FTC v. Nat’l Tea
Co., 603 F.2d 694, 698 (8th Cir. 1979).
         Case: 23-15992, 06/24/2024, ID: 12893221, DktEntry: 120, Page 2 of 2




    Likewise, Warner’s likelihood-of-success formulation in FTC cases, see 742 F.2d at 1162,
remains unaffected. The traditional equity standard requires “a clear showing” of likelihood of
success, Slip Op. 9, but the FTC Act requires only that courts “consider[]” the Commission’s
likelihood of success, 15 U.S.C. § 53(b). See Heinz, 246 F.3d at 714 (remanding for preliminary
injunction having “considered the FTC’s likelihood of success”). Starbucks does not address this
statutory language.


                                                           Respectfully submitted,

                                                           /s/ Imad Abyad
                                                           IMAD D. ABYAD
                                                           Counsel for
                                                           FEDERAL TRADE COMMISSION




                                               2
